RAFAEL M. GONZALEZ, JR.
ACTING UNITED STATES ATTORNEY
ERIN C. BLACKADAR, IDAHO STATE BAR NO. 8996
SPECIAL ASSISTANT UNITED STATES ATTORNEY
DISTRICT OF IDAHO
1290 W. MYRTLE ST. SUITE 500
BOISE, ID 83702-7788
TELEPHONE: (208) 334-1211
FACSIMILE: (208) 334-1413




                         UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,              Case No. 1:21-cr-00119-BLW

            Plaintiff,                 RULE 11 PLEA AGREEMENT

      vs.

OLIVER YARDLEY,

            Defendant.




                                                                    Rev. September 2019
I.     GUILTY PLEA

       A.      Summary of Terms. Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(A)

and (B), the Defendant, the attorney for the Defendant, and the Government1 agree that the

Defendant will plead guilty to Count One of the Indictment, which charges the Defendant with

Distribution of Methamphetamine, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(B). The

Defendant will also admit the asset forfeiture allegation in the Indictment.

       This plea is voluntary and did not result from force, threats, or promises, other than any

promise made in this agreement. Upon acceptance of the Defendant’s guilty plea(s), and the

Defendant’s full compliance with the other terms of this agreement, the Government will dismiss,

under Federal Rule of Criminal Procedure 11(c)(1)(A), Counts Two through Five of the

Indictment, and further agrees not to bring additional charges under 21 U.S.C. § 841(a)(1) and

(b)(1)(A) based on information presently known to the Government, as reflected in discovery.

Under Federal Rules of Criminal Procedure 11(c)(1)(B), the Government will recommend a

sentence within the guidelines range, as determined by the District Court.

       B.      Oath. The Defendant will be placed under oath at the plea hearing. The

Government may use any statement that the Defendant makes under oath against the Defendant in

a prosecution for perjury or false statement.

II.    WAIVER OF CONSTITUTIONAL RIGHTS AT TRIAL

       The Defendant waives the following rights by pleading guilty pursuant to this agreement:

1) the right to plead not guilty to the offense(s) charged against the Defendant and to persist in

that plea; 2) the right to a trial by jury, at which the Defendant would be presumed innocent and

the burden would be on the Government to prove the Defendant’s guilt beyond a reasonable


       1
          The word AGovernment@ in this agreement refers to the United States Attorney for the
District of Idaho.

Plea Agreement                                   1                                     Rev. September 2019
doubt; 3) the right to have the jury agree unanimously that the Defendant was guilty of the

offense; 4) the right, at trial, to confront and cross-examine adverse witnesses; 5) the right to

present evidence and to compel the attendance of witnesses; and 6) the right not to testify or

present evidence without having that held against the Defendant. If the Court accepts the

Defendant's guilty plea, there will be no trial.

III.   NATURE OF THE CHARGES

       A.      Elements of the Crime. The elements of the crime of Distribution of

Methamphetamine, 21 U.S.C. § 841(a)(1) and (b)(1)(B) as charged in Count One, are as follows:

       1.      The defendant knowingly and intentionally distributed five grams or more of

               actual methamphetamine; and

       2.      The defendant knew it was methamphetamine or some other prohibited drug.

       B.      Factual Basis. The Defendant admits the following facts are true:

       On August 26, 2019 the Treasure Valley Metro Violent Crimes Task Force (“Metro Task

Force”), using a Confidential Human Source (“CHS”), arranged to purchase two ounces of

methamphetamine from Oliver Yardley and co-defendant Ashley Cates (“Cates”) for $950. On

this date, the Defendant and Cates knowingly and intentionally delivered 50.5 grams of actual

methamphetamine (52.7 grams of a mixture and substance containing methamphetamine) to CHS

at a gas station near Fruitland, Idaho. The Defendant and Cates knew it was methamphetamine.

IV.    SENTENCING FACTORS

       A.      Penalties. A violation of Distribution of Methamphetamine, 21 U.S.C §§

841(a)(1) and (b)(1)(B), and 18 U.S.C. § 2 as charged in Count One, is punishable by:

               1.      At least five years and no more than forty years’ imprisonment;

               1.      a term of supervised release of at least four years;

               2.      a maximum fine of $5,000,000; and


Plea Agreement                                     2                                    Rev. September 2019
               3.      a special assessment of $100.

       B.      Supervised Release. The Court may impose a period of supervised release. No

agreement exists as to its length.

       The law permits the combined prison time and term of supervised release to exceed the

maximum term of incarceration for the crime(s) to which the Defendant is pleading guilty.

Violation of any condition of supervised release may result in further penalties and prosecution.

       C.      Fines and Costs. The Court may impose a fine. No agreement exists as to its

amount of the fine. The Court may also order the Defendant to pay the costs of imprisonment,

probation, and supervised release.

       D.      Special Assessment. The Defendant will pay the special assessment(s) before

sentencing and will furnish a receipt at sentencing. Payment will be made to:

               The United States District Court, Clerk’s Office
               Federal Building and United States Courthouse
               550 West Fort Street, Fourth Floor
               Boise, Idaho 83724

       E.      Forfeiture. The Court will enter a forfeiture order as part of the Defendant’s

sentence. The Defendant will immediately forfeit to the Government the property set out in this

agreement, the charging document to which the Defendant is pleading, and any Bill of Particulars.

Defendant agrees that those documents provide statutory authority for forfeiture. Additionally,

Defendant agrees to forfeit the following:

               Forfeiture Money Judgment for Unrecovered Property. The Court may impose

       forfeiture of a monetary sum, or money judgment, equivalent to unrecovered property

       including unrecovered proceeds of the offense of conviction obtained and controlled by

       the Defendant, property derived from or traceable to such proceeds, and/or unrecovered

       property the Defendant used to commit or facilitate the offense, as authorized by

       applicable statutes.
Plea Agreement                                   3                                   Rev. September 2019
                Substitute Assets Up To the Value of Unrecovered Property Subject to Forfeiture.

        Pursuant to 21 U.S.C. § 853(p) and other applicable statutes, the Defendant agrees to

        forfeit substitute assets, or any other property of the Defendant up to the value of any

        unrecovered property subject to forfeiture. Post-sentencing forfeiture of substitute assets

        does not entitle the Defendant to resentencing.

        Defendant makes the following additional agreements and waivers related to forfeiture:

        a.      Regarding the above property, the Defendant: (a) is the sole owner, unless

otherwise set out herein; (b) hereby withdraws any claims filed in any administrative or civil

forfeiture proceeding; (c) agrees to assist fully in the forfeiture and to take all steps necessary to

pass clear title to the Government; (d) will testify truthfully in any forfeiture proceeding and will

not assist a third party in asserting a claim; (e) agrees to administrative or civil forfeiture, or

abandonment, if the Government does not pursue criminal forfeiture; and (f) agrees that variations

or errors in serial numbers or property descriptions shall not affect forfeiture.

        b.      Forfeiture is separate from all other penalties, including fines and restitution. As

with other penalties, the Court will determine forfeiture at sentencing. Any stated or pleaded

forfeiture amount is an “at least” amount and the Court may impose greater or additional

forfeitures. The Defendant waives requirements regarding notice and pronouncement of

forfeiture, including: (a) in charging documents, (b) at the change of plea hearing, (c) at

sentencing, and (d) in the judgment. See FED. R. CRIM. P. 11(b)(1)(J), 32.2, and 43(a).

        c.      The Defendant waives all challenges and objections, on any grounds, to any

forfeiture in accordance with this agreement. If this agreement is withdrawn for any reason, the

Defendant waives the right to contest all administrative and civil forfeitures that began before the

withdrawal. The Defendant agrees to hold the United States, its agents, and employees harmless

from any claims related to seizures or forfeiture in this case or the related investigation. The


Plea Agreement                                      4                                     Rev. September 2019
forfeiture provisions of this agreement will survive the Defendant’s death and bind the

Defendant’s heirs, successors and assigns until forfeiture is fully collected. Any forfeited

property directed to victims shall not be returned even if Defendant’s conviction is overturned or

abated.

          d.     The District Court shall retain jurisdiction to consider and rule on forfeiture and

related issues, unless a higher Court directs otherwise.

V.        SEIZED PROPERTY: ABANDONMENT AND WAIVER

          The Defendant abandons, releases, and waives any interest in property seized or otherwise

obtained by the Government or law enforcement in this case unless specific exceptions are noted

in this agreement. Such property will be disposed of, destroyed, sold, or transferred in the

Government’s sole discretion. Such disposition shall not constitute satisfaction of any

assessment, fine, restitution, forfeiture, cost of imprisonment, or any other penalty that this Court

may impose.

VI.       UNITED STATES SENTENCING GUIDELINES

          A.     Application of Sentencing Guidelines. The Court must consider the U.S.S.G. in

determining an appropriate sentence under 18 U.S.C. § 3553. The defendant agrees that the Court

may consider “relevant conduct” in determining a sentence pursuant to U.S.S.G. § 1B1.3.

          The Court is not a party to this agreement and the agreement does not bind the Court’s

determination of the U.S.S.G. range. The Court will identify the factors that will determine the

sentencing range under the U.S.S.G. The Court has complete discretion to impose any lawful

sentence, including the maximum sentence possible.

          Recognizing that this agreement does not bind the Court, the parties agree to the

recommendations and requests set forth below.

          B.     Sentencing Guidelines Recommendations and Requests.


Plea Agreement                                      5                                   Rev. September 2019
               1.      Government’s Statements at Sentencing. The Government reserves the

right to allocute fully at sentencing regarding any sentencing recommendation. The Government

may rely on or submit any information, including relevant conduct, in support of its

recommendation regardless of whether the agreement or the pre-sentence investigation report

contain this information. Any exception must be specified in this agreement.

               2.      Acceptance of Responsibility. If the Defendant clearly accepts

responsibility for the offense, the Defendant will be entitled to a reduction of two levels in the

combined adjusted offense level, under U.S.S.G. § 3E1.1(a). The Government will move for an

additional one-level reduction in the combined offense level under § 3E1.1(b) if the following

conditions are met: (1) the Defendant qualifies for a decrease under § 3E1.1(a); (2) the offense is

level 16 or greater; and (3) the Defendant has timely notified authorities of the Defendant’s

intention to enter a plea of guilty, thereby permitting the Government to avoid preparing for trial

and permitting the Court to allocate its resources efficiently. If, before sentence is imposed, the

Defendant fails to meet U.S.S.G. § 3E1.1’s criteria, or acts in a manner inconsistent with

acceptance of responsibility, the Government will withdraw or decline to make the motion.

               3.      Specific Offense Characteristics. The parties agree the following

guidelines calculations apply:

                       a.        A two-level increase for the offense involving possession of a

                                 dangerous weapon (including a firearm), pursuant to U.S.S.G. §

                                 2D1.1(b)(1).

There are no other agreements regarding the offense level.

               4.      Downward Departure or Variance Request by Defendant. If the

Defendant wishes to seek a departure or variance, the Defendant must provide written notice to




Plea Agreement                                      6                                  Rev. September 2019
the Government, along with the reasons and basis therefore, 21 days before the date set for

sentencing.

VII.      WAIVER OF RIGHT TO DIRECT APPEAL AND TO COLLATERAL ATTACK
          UNDER 28 U.S.C. § 2255

          A.     Waiver: In exchange for this agreement, and except as provided in subparagraph

B, the Defendant waives any right to appeal or collaterally attack the entry of plea, the conviction,

the entry of judgment, and the sentence, including forfeiture and restitution. This waiver includes

any challenge to the constitutionality of any statute of conviction including arguments that the

admitted conduct does not fall within any statute of conviction.

          The Defendant acknowledges that this waiver will result in the dismissal of any direct

appeal or collateral attack the Defendant might file seeking to challenge the plea, conviction, or

sentence in this case. Further, the filing of such an appeal or collateral attack will breach this

agreement and allow the Government to withdraw from it, as well as to take other remedial

action.

          If the Defendant believes the Government has not fulfilled its obligations under this

agreement, the Defendant will object at the time of sentencing; further objections are waived.

          B.     Exceptions:

                 1.      Direct Appeal: Notwithstanding subparagraph A, the Defendant may file

one direct appeal if one of the following unusual circumstances occurs:

                         a.     the sentence imposed by the Court exceeds the statutory maximum;

                         b.     the Court arrived at an advisory USSG range by applying an
                                upward departure under chapter 5K of the USSG; or

                         c.     the Court exercised its discretion under 18 U.S.C. § 3553(a) to
                                impose a sentence that exceeds the advisory USSG range as
                                determined by the Court.




Plea Agreement                                      7                                   Rev. September 2019
       The Defendant understands that the above circumstances occur rarely and that in most

cases this agreement completely waives all appellate rights.

               2.      Motion Under 28 U.S.C. § 2255: Notwithstanding subparagraph A, the

Defendant may file an ineffective assistance of counsel claim in a 28 U.S.C. § 2255 motion.\

VIII. PROVIDING INFORMATION FOR THE PRESENTENCE REPORT

       The Defendant agrees to provide financial information and any other information

requested by a representative of the United States probation office for use in preparing a pre-

sentence investigation report, and agrees that the United States probation office may share all

financial information with the Government. Failure to execute releases or to provide information

for the pre-sentence investigation report violates this agreement and relieves the Government of

its obligations from it. Such failure by the Defendant and response by the Government will not,

however, constitute grounds for withdrawing the plea of guilty unless the Government so

requests. Providing materially false information will subject the Defendant to additional

penalties, including an enhancement under U.S.S.G. § 3C1.1.

IX.    DISCLOSING FINANCIAL INFORMATION

       The Defendant agrees to disclose all the Defendant’s assets and sources of income to the

Government, including all assets over which the Defendant exercises or exercised direct or

indirect control, or in which the Defendant has had any financial interest. This includes all

community property. The Defendant also agrees to cooperate in obtaining any records relating to

ownership of assets when sought by the Government. The Defendant agrees truthfully to

complete a personal financial statement within 14 days from the date the Defendant signs this

agreement or from the date the financial statement is provided to the Defendant or counsel,

whichever is later. The Defendant agrees to provide updates with any material changes in

circumstances, as described in 18 U.S.C. § 3664(k), within 7 days of the event giving rise to the


Plea Agreement                                    8                                   Rev. September 2019
changed circumstances. The failure timely and accurately to complete, sign, and update the

financial statements may constitute failure to accept responsibility under U.S.S.G. § 3E1.1, as

well as other things.

       The Defendant authorizes the Government: (a) to obtain a credit report on the Defendant;

(b) to inspect and copy all financial documents and information held by the United States

probation office; and (c) to obtain all financial records related to the Defendant.

       Before sentencing, Defendant agrees not to dissipate any assets without the consent of

both the Government’s financial litigation unit and asset forfeiture unit. If any assets are sold,

any sale proceeds will be deposited with the Clerk of Court and, upon sentencing, paid toward

any monetary penalties ordered in the judgment.

X.     NO RIGHT TO WITHDRAW PLEA

       The Defendant understands that the Court may not follow the recommendations or

requests made by the parties at the time of sentencing. The Defendant cannot withdraw from this

agreement or the guilty plea, regardless of the Court’s actions.

XI.    CONSEQUENCES OF VIOLATING AGREEMENT

       A.      Government’s Options. If the Defendant fails to keep any promise in this

agreement or commits a new crime, the Government is relieved of any obligation: 1) to make a

sentencing recommendation consistent with the terms promised in this agreement; and 2) not to

prosecute the Defendant on other charges, including charges not pursued due to this agreement.

Such charges may be brought without prior notice. If the Government determines that a breach

warrants prosecution before sentencing, it may withdraw from this agreement in its entirety. In

addition, if the Government determines after sentence is imposed that the Defendant’s breach of

the agreement warrants further prosecution, the Government may choose between letting the




Plea Agreement                                     9                                   Rev. September 2019
conviction(s) under this agreement stand or vacating such conviction(s) so that charge(s) may be

re-prosecuted.

       The Government’s election to pursue any of the above options provides no basis for the

Defendant to withdraw the guilty plea(s) made pursuant to this agreement.

       B.        Defendant’s Waiver of Rights. If the Defendant fails to keep any promise made

in this agreement, the Defendant gives up the right not to be placed twice in jeopardy for the

offense(s) to which the Defendant entered a plea of guilty or which were dismissed under this

agreement. In addition, for any charge that is brought as a result of the Defendant’s failure to

keep this agreement, the Defendant gives up: (1) any right under the Constitution and laws of the

United States to be charged or tried in a more speedy manner; and (2) the right to be charged

within the applicable statute of limitations period if the statute of limitations has expired.

       Furthermore, if the Defendant does not enter an acceptable plea, the Government will

move to continue the trial now set to allow the Government adequate time to prepare. The

Defendant agrees not to contest such a continuance and agrees that the resulting delay would be

excludable time under 18 U.S.C. § 3161(h).

XII.   MISCELLANEOUS

       A.        No Other Terms. This agreement is the complete understanding between the

parties, and no other promises have been made by the Government to the Defendant or to the

attorney for the Defendant. This agreement does not prevent any Governmental agency from

pursuing civil or administrative actions against the Defendant or any property. Unless an

exception to this paragraph is explicitly set forth elsewhere in this document, this agreement does

not bind or obligate Governmental entities other than that specified as the Government in this

agreement (i.e., the United States Attorney’s Office for the District of Idaho).




Plea Agreement                                     10                                   Rev. September 2019
